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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 JASON CONNOLE, Individually and on                     Case No. 18-cv-01579-MN
 Behalf of All Others Similarly Situated,
                                                        CLASS ACTION
                       Plaintiff,

          v.

 ZOE’S KITCHEN, INC., GREG
 DOLLARHYDE, KEVIN MILES, THOMAS
 BALDWIN, SUE COLLYNS, CORDIA
 HARRINGTON, and ALEC TAYLOR,

                       Defendants.




               PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), plaintiff Jason Connole (“Plaintiff”) voluntarily dismisses the above-captioned

action (the “Action”) with prejudice as to his individual claims, and without prejudice as to the

claims of the putative class. Because this notice of dismissal is being filed before service by the

defendants of either an answer or a motion for summary judgment, Plaintiff’s dismissal of the

Action is effective upon filing of this notice.

   Dated: November 16, 2018

                                                     O’KELLY ERNST & JOYCE, LLC

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